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                                                                                      FILED
                                                                          United States Court of Appeals
                         UNITED STATES COURT OF APPEALS                           Tenth Circuit

                               FOR THE TENTH CIRCUIT                              May 22, 2018
                           _________________________________
                                                                              Elisabeth A. Shumaker
                                                                                  Clerk of Court
  STEVEN WAYNE FISH, on behalf of
  themself and all others similarly situated;
  DONNA BUCCI, on behalf of themself
  and all others similarly situated;
  CHARLES STRICKER, on behalf of
  themself and all others similarly situated;                  No. 18-3094
  THOMAS J. BOYNTON, on behalf of                     (D.C. No. 2:16-CV-02105-JAR)
  themself and all others similarly situated;                    (D. Kan.)
  DOUGLAS HUTCHINSON, on behalf of
  themself and all other similarly situated;
  LEAGUE OF WOMEN VOTERS OF
  KANSAS,

        Plaintiffs - Appellees,

  v.

  KRIS W. KOBACH, in his official
  capacity as Secretary of State for the State
  of Kansas,

        Defendant - Appellant.
                        _________________________________

                                        ORDER
                           _________________________________

  Before HOLMES, MATHESON, and PHILLIPS, Circuit Judges.
                   _________________________________

         This matter comes on for consideration of the appellees’ Motion to Dismiss, the

  response filed thereto, and the court-ordered reply. Upon consideration thereof, the

  motion is granted.
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         This court has jurisdiction to review final decisions, 28 U.S.C. § 1291, and

  specific types of interlocutory orders. The district court order finding the appellant in

  contempt is not final or otherwise immediately appealable.

         A finding of civil contempt unaccompanied by sanctions is not final and therefore

  not immediately appealable. See Consumers Gas & Oil, Inc. v. Farmland Industries, Inc.,

  84 F.3d 367, 370 (10th Cir. 1996) (finding jurisdiction over contempt order at the

  postjudgment stage only when both the finding of contempt was made and a sanction

  imposed); O’Connor v. Midwest Pipe Fabrications, Inc., 972 F.2d 1204, 1208 (10th Cir.

  1992) (once finding of contempt made and sanctions imposed, order becomes

  appealable).

         Although the district court stated that it was imposing sanctions, specific sanctions

  have not yet been imposed. Here, not only has the district court not issued findings of fact

  and conclusions of law or final judgment, the district court has not determined a

  discernable amount of sanctions. See American Soda v. US Filter, 428 F.3d 921, 924

  (10th Cir. 2005) (attorney fees are not appealable until amount is set) (citing to Phelps v.

  Washburn University, 807 F.2d 153, 154 (10th Cir. 1986)).

         APPEAL DISMISSED.




                                                 Entered for the Court
                                                 ELISABETH A. SHUMAKER, Clerk


                                                 by: Ellen Rich Reiter
                                                     Jurisdictional Attorney

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